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                               Just Mercy Quick Report

Just Mercy was written by Bryan Stevenson in 2014. In this book Mr. Stevenson tells
about his time in the Southern States helping out African Americans on Death Row,
condemned to die for crimes they didn’t commit. Some of the people he helped were
guilty of a crime but grossly over charged for their crime, due to their skin color,
financial status or their mental stability.

Mr. Stevenson attended Harvard Law School and took an internship in Georgia with the
Southern Prisoners Defense Committee (SPDC). This was the first time Mr. Stevenson
was faced with the inside of a prison.

This book covers the stories of dozens of people who Mr. Stevenson helped in his years
following graduation from law school. He wasn’t always successful in helping the people
but he did his best. This book concentrates on what happened to Walter McMillian.

Walter McMillian was a hard working, law abiding black man, living in Monroeville
Alabama. Walter only went to school until he was 8 or 9. At this time he became too
valuable picking cotton to continue sending him to school.

When the cotton industry became less profitable Walter started his own pulp wood
business. He didn’t get rich off his business but he was able to support his family and
have a little left over. This would cause suspicion in the future because people would
accuse him of selling drugs. Apparently people felt that was the only way a black man
could have money. (My interpretation).

Walter was married to Minnie, they had three children. Walter was a ladies man and
became involved with Karen Kelly, a married white woman that was 18 years younger.
When Karen and her husband got a divorce, Karen’s husband had Walter testify in court
about the relationship. This caused the affair to become very public. The white citizens
were angry about a black man being involved with a white woman.

On November 1, 1986 a respected white woman named Ronda Morrison was murdered at
her job at Monroe Cleaners. She came from a respected family which made the murder
more news worthy. When her killer was not caught quickly, pressure was put on the
Sheriff by the public. People were talking about his incompetence. The Sheriff had to
come up with a killer.

During this time Walter decided to call it off with Karen Kelly. The divorce and custody
suite had caused her to turn to drugs. She began to associate with Ralph Myers, a white
man with a long criminal Record. Ralph and Karen together were dealing drugs and were
involved in the murder of Vickie Lynn Pittman.

Vickie Lynn Pittman was a young woman from a poor family in an neighboring town.
Some of Vickie’s family members had been in jail so her murder didn’t make the news
like the murder of Ronda Morrison.
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Ralph Myers would eventually implicate Walter as the one who murdered Ronda. Ralph
told the Sheriff that Walter forced him to drive Walter to the scene of the murder, wait for
him then drive him back.

Walter had an airtight alibi. He was at home working on his truck, They were having a
fund raiser, selling food from his house for the church. Several family members,
neighbors, community members and a police officer vouched that Walter couldn’t have
killed Ronda Morrison because he was at home.

The Sheriff and other people didn’t care about the truth. They needed a killer and a black
man that had an affair with a white woman would do. Ralph Myer tried to recant his story
so Ralph and Walter McMillian were both placed on Death Row while awaiting trial,
which is illegal. Ralph cracked and said he would testify that Walter was the killer, at that
time he was removed from death row and taken to jail. As soon as he tried to tell the truth
again he was returned to Death Row.

Walter McMillian was convicted of killing Ronda and sentenced to death. While on death
row Bryan Stevenson became involved in his case. Mr. Stevenson was relentless in his
efforts to get Walter’s conviction overturned.

Eventually Walter was freed. His life was a mess when he got out of prison. His wife,
Minnie, had supported him through his ordeal but didn’t want to be with him anymore.
Walter started doing his tree work again. Walter would also do speeches about his ordeal.
One day Walter was injured doing his tree work and could no longer continue doing tree
work.

Walter used the money from his settlement to buy old cars, to sell the parts. He ended up
with a lot of junk cars and no money.

On September 11, 2013 Walter died. He died a free man and of natural causes.

Reading this book makes me reconsider my view on the death penalty. It was far too easy
for the people to convict a man of a crime that he could not have committed. How many
more Walters are on death row. It would be better if a hundred men guilty of murder
spend their natural life in prison than one innocent man die on death row.
